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                             UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

   GURIT BALSAFLEX CIA. LTDA,

                           Plaintiff,

   v.                                                           Case No: 6:21-cv-246-WWB-LRH

   CERIX CORP.,

                           Defendant.


                              ORDER AND DIRECTION TO THE CLERK
             This cause came on for consideration without oral argument on the following motion filed

   herein:

             MOTION:       MOTION TO WITHDRAW AS COUNSEL (Doc. 11)

             FILED:        March 19, 2021


             THEREON it is ORDERED that the motion is GRANTED.

             On March 19, 2021, Attorneys Jesse Ina Unruh and Whitney M. Dupree (collectively,

   “Counsel”) moved to withdraw as counsel for Defendant Cerix Corp. (Doc. 11). In support,

   Counsel states that Defendant has not yet paid the agreed upon retainer. (Id. at ¶ 1). On March 5,

   2021, Counsel informed the Defendant that failure to pay the retainer would necessitate their

   withdrawal. (Id. at ¶ 8). The Defendant acknowledged this consequence and has consented to

   Counsels’ withdrawal. (Id. at ¶¶ 8-9). Further, the Plaintiff does not oppose withdrawal. (Id. at

   4). Upon consideration, the Motion is well-taken.

             By granting the Motion, the Defendant will no longer be represented by counsel. As a

   corporation, the Defendant cannot proceed pro se and, therefore, is subject to immediate default.
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   Local Rule 2.02(b)(2) (“A party, other than a natural person, can appear through the lawyer only.”).

   Since it appears that Defendant intends to defend this action, the Court will not enter default at this

   time. Instead, the Defendant will be given twenty-one (21) days to retain substitute counsel and to

   have that counsel appear in this case on its behalf. Further, considering the upcoming deadline to

   respond to the Complaint (Doc. 10 (setting deadline for March 26, 2021)), the response deadline

   will be extended until seven (7) days after substitute counsel appears in this case. The deadline to

   retain substitute counsel will not be extended absent truly exigent circumstances. Therefore, if

   substitute counsel does not appear on the Defendant’s behalf within this 21-day period and thereafter

   timely respond to the Complaint, the Court will enter default against the Defendant.

          Accordingly, it is ORDERED that:

          1. The Motion (Doc. 11) is GRANTED.

          2. Attorneys Jesse Ina Unruh and Whitney M. Dupree are granted leave to withdraw as the

              Defendant’s counsel.

          3. Attorney Unruh shall immediately, but no later than March 25, 2021, send the

              Defendant a copy of this Order via U.S. mail at its last known address.

          4. On or before March 26, 2021, Attorney Unruh shall file a notice with the Court

              certifying that the Order has been mailed to the Defendant and the date of mailing.

          5. On or before April 14, 2021, the Defendant shall have substitute counsel appear in this

              case on its behalf. Substitute counsel shall respond to the Complaint within seven

              (7) days after he or she appears in this case.

          6. The deadline for substitute counsel to appear on the Defendant’s behalf will not be

              extended.




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          7. If substitute counsel does not appear on the Defendant’s behalf and respond to the

             Complaint in the time provided, default will be entered against the Defendant.

          8. The Clerk is directed to temporarily update the contact information for Defendant on the

             docket until new counsel appears on Defendant’s behalf as follows:

                                                 Ralbin Duarte
                                               1919 Redfield Lane
                                               Orlando, FL 32837

          DONE and ORDERED in Orlando, Florida on March 24, 2021.




   Copies furnished to:

   Counsel of Record
   Unrepresented Parties




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